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                                           United States District Court
                                            Western District of Texas
                                                     Austin
                                               Deficiency Notice


To:             Thakur, Amar
From:           Court Operations Department, Western District of Texas
Date:           Monday, August 3, 2020
Re:             01:18-CV-00425-LY / Doc # 97 / Filed On: 07/31/2020 05:17 PM CST

Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it is
deficient in the area(s) checked below. Please correct the deficiency(ies), as
noted below, and re-file document IMMEDIATELY. When re-filing document,
other than a motion, please ensure you add ‘corrected’ to the docket text. If
the document you are re-filing is a motion, select ‘corrected’ from the drop-
down list.

If an erroneous filing results in failure to meet a deadline, you will need
to seek relief, for any default, from the presiding judge.
(1) No certificate of service was included in pleading. Please file ONLY the certificate of service in the form of a
pleading using the "Certificate of Service" event located under the 'Service of Process' menu.
   Remarks: Sealed documents are not served via ECF and requires service to parties via other means. Please
submit a certificate of service as a SEPARATE document stating the means of service. Do NOT re-file entire
pleading.
